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Via ECF

August 31, 2023

Magistrate Judge Virginia K. DeMarchi
San Jose Courthouse
Courtroom 2 – 5th Floor
280 South 1st Street
San Jose, CA 95113

Re:    In re Google RTB Consumer Privacy Litig., No. 4:21-cv-02155-YGR-VKD (N.D. Cal.)
       Joint Supplemental Submission re: Proposed Rule 30(b)(6) Deposition Topics

Dear Magistrate Judge DeMarchi:

        Pursuant to the Court’s Order Requesting Supplemental Submission (ECF No. 566),
plaintiffs and defendant Google LLC (“Google”) provide this supplemental submission regarding
additional proposed Rule 30(b)(6) deposition topics corresponding to the categories of information
for which plaintiffs sought the depositions of Google employees Ted Herbstman, Ben Kornacki,
Timon Koehler, Sierra Feitshans, and Aaron Powers.

        In accordance with the Court’s Order, Plaintiffs’ Third Set of Interrogatories and Google’s
Supplemental Responses and Objections thereto are attached as Exhibits A and B, respectively.
Plaintiffs’ Fourth Set of Interrogatories and Google’s Supplemental Responses and Objections
thereto are attached as Exhibits C and D [redacted], respectively. Because portions of Exhibit D
contain information designated confidential by Google, an unredacted version of this exhibit is
being filed separately with Google’s administrative motion to seal. Should the Court wish to
review documents GOOG-HEWT-00455648 and GOOG-HEWT-00455800, to which
Interrogatories Nos. 11 and 12 respectively refer, the parties can provide those to the Court under
seal.

I.     PLAINTIFFS’ PROPOSAL

       In keeping with the Court’s guidance at the August 22, 2023 hearing, plaintiffs propose
that Google produce a witness or witnesses most knowledgeable or qualified to testify on Google’s
behalf with respect to the following topics:

        Koehler and Feitshans (Interrogatory No. 11): The creation and maintenance of the
excel spreadsheet produced as GOOG-HEWT-00455648 as a business record of Google, the
particular source(s) of the data included on the spreadsheet, the formula or calculation and inputs
used for that formula or calculation to derive the figures included on the spreadsheet, the manner
in which Google records RTB revenues from Google U.S. account holders while outside the U.S.,
the manner in which Google records RTB revenues from Google non-U.S. account holders while
in the U.S, and Google’s ability to provide information similar to that provided in the spreadsheet
for the remainder of the proposed class period (i.e., the second half of 2016, the second half of
2022, and the first half of 2023).
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          Proposed time: 2 hours

        Powers (Interrogatory No. 12): The creation and maintenance of the excel spreadsheet
produced as GOOG-HEWT-00455800 as a business record of Google, the particular source(s) of
the data included on the spreadsheet, the formula or calculation and inputs used for that formula
or calculation to derive the figures included on the spreadsheet, the data aggregation tool used to
create the spreadsheet, the manner in which Google determined account activity, the time period
covered by the spreadsheet, and Google’s ability to provide information similar to that provided
in the spreadsheet for other purported privacy controls (i.e., NPA, LAT).

          Proposed time: 2 hours

        Herbstman and Kornacki (Interrogatory No. 13): The manner in which Google
identified and quantified the RTB bid requests associated with each named plaintiff as set forth in
Google’s Supplemental Response to Interrogatory 13, the reasons why Google only included RTB
bid requests for portions of 2021 and all of 2022 in its response, the retention period for the
DisplayAdQueryState log, whether and when any litigation hold was imposed on the
DisplayAdQueryState log, and any other data sources at Google that exist or existed as of March
31, 2021 that may contain responsive information for time periods missing in Google’s
Supplemental Response to Interrogatory 13.

          Proposed time: 2 hours

        Herbstman and Kornacki (Interrogatory No. 14): The manner in which Google
identified and quantified the successful RTB auctions associated with each named plaintiff as set
forth in Google’s Supplemental Response to Interrogatory 14, the reasons why Google only
included successful RTB auctions for portions of 2021 and all of 2022 in its response, the retention
period for the DisplayAdQuery log, whether and when any litigation hold was imposed on the
DisplayAdQuery log, and any other data sources at Google that exist or existed as of March 31,
2021 that may contain responsive information for time periods missing in Google’s Supplemental
Response to Interrogatory 14.

          Proposed time: 2 hours

II.       GOOGLE’S PROPOSAL

          Google’s proposal is as follows:

          Koehler and Feitshans (Interrogatory No. 11): (No objection to Plaintiffs’ proposed
topic).

          Powers (Interrogatory No. 12):

      Google respectfully submits that no deposition is warranted on this topic, which is
subsumed by the Parties’ agreement that Google respond in writing as to Topic 3 of Plaintiffs’
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Amended 30(b)(6) Notice. Should the Court disagree, Google respectfully proposes the alternative
Topic below in lieu of its written response.

        The creation and maintenance of the Excel spreadsheet produced as GOOG-HEWT-
00455800 as a business record of Google, the particular source(s) of the data included on the
spreadsheet, the formula or calculation and inputs used for that formula or calculation to derive
the figures included on the spreadsheet, the manner in which Google determined account activity,
and the time period covered by the spreadsheet.

        Herbstman and Kornacki (Interrogatory No. 13): The manner in which Google
identified and quantified the RTB bid requests associated with each named plaintiff as set forth in
Google’s Supplemental Response to Interrogatory 13.

        Herbstman and Kornacki (Interrogatory No. 14): The manner in which Google
identified and quantified the successful RTB auctions associated with each named plaintiff as set
forth in Google’s Supplemental Response to Interrogatory 14.

       Proposed time: Google understands that Plaintiffs intend to seek leave to exceed the
presumptive seven-hour limit for a 30(b)(6) deposition. Google will oppose that request when it
is properly before the Court. For purposes of this submission, Google respectfully submits that
the proposed time limits are unnecessary and contemplates that the topics above will be
encompassed within the presumptive seven-hour limit for a designated witness in a 30(b)(6)
deposition.


Dated: August 31, 2023                       PRITZKER LEVINE LLP

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Dated: August 31, 2023             COOLEY LLP

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             ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)(3)



       I, Bethany Caracuzzo, attest that concurrence in the filing of this document has been
obtained from the other signatories. I declare under penalty of perjury that the foregoing is true
and correct. Executed this 31st day of August, at Emeryville, California.
                                             /s/ Bethany Caracuzzo
                                             Bethany Caracuzzo
